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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                           CASE NO. 20-21553-COOKE/GOODMAN

  PATRICK GAYLE, et al.,

         Plaintiffs,
  v.

  MICHAEL W. MEADE, et al.,

        Defendants.
  __________________________/

          SUPPLEMENTAL ORDER ON CLASS ACTION MOTION BRIEFING

         The parties will soon be submitting additional memoranda on Plaintiffs’ expedited

  motion for class certification. [I recognize that Plaintiffs’ reply is technically only optional,

  but the importance of the underlying issues and the existence of myriad law firms and

  public interest groups and attorneys on Plaintiffs’ legal term strongly suggests that a

  reply will, in fact, surely be filed].

         In the past two months since the COVID-19 pandemic first became a crisis

  confronting our country (and the entire world, for that matter), myriad inmates,

  prisoners, and detainees have filed lawsuits all across the country, challenging the

  conditions of their confinement as too risky in the face of the virus. Many of those

  lawsuits sought (or still seek) class certification. The parties’ memoranda should discuss

  the rulings made in these Coronavirus-related class certification motions and argue
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  whether they should apply here.

          In addition, the additional legal memoranda should also discuss yesterday’s

  Eleventh Circuit Court of Appeals ruling in Swain v. Junior, No. 20-11622 (11th Cir.),

  which is an appeal from the District Court (20-CV-21457-KMW (S.D. Fla.)). In a 2-1

  published opinion with a written dissent, our Appellate Court granted a motion to stay

  the District Court’s preliminary injunction pending an appeal by the Defendants (i.e.,

  Miami-Dade County and the Director of its Corrections and Rehabilitations Department).

  The preliminary injunction, which was stayed, required the Defendants in that similar

  case to use myriad safety measures to prevent the spread of COVID-19 at the Metro West

  jail.

          Because yesterday’s ruling is a published decision, it is now the law in the Eleventh

  Circuit, and therefore must be followed unless the same panel grants a motion for

  rehearing (should one be filed) and changes its ruling, or unless the Appellate Court

  grants a motion for rehearing en banc (should one be filed) and enters a substantively

  different ruling. For now, though, Swain is the controlling law in this Circuit.

          The Swain Court considered the Plaintiff’s § 1983 claim that Defendants violated

  the Eighth and Fourteenth Amendments through their purportedly deliberate

  indifference to the COVID-19 risks affecting the jail detainees. The Court noted that an

  Eighth Amendment challenge has two components: an objective one and a subjective one.

          To prevail on the objective component, a plaintiff must show “an objectively


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  intolerable risk of harm.”

         To satisfy the subjective component, a plaintiff must show that the prison official

  “acted with deliberate indifference.” The Swain Court noted that the deliberate

  indifference element requires a prison official to have a subjective “state of mind more

  blameworthy than negligence.”

         The Eleventh Circuit held that the District Court “incorrectly collapsed” the

  subjective and objective components. Moreover, it held that the Defendants are likely to

  prevail on appeal.

         More specifically, the Eleventh Circuit held that the trial court “treated the increase

  in COVID-19 infections as proof that the Defendants deliberately disregarded an

  intolerable risk,” an approach which “likely violated the admonition that resultant harm

  does not establish a liable state of mind.” It likewise held that the Defendants are likely

  to prevail for the additional reason that Plaintiffs “offered ‘little evidence’ to suggest that

  the Defendants were deliberately indifferent.” Instead, the Appellate Court held, the

  evidence supports the conclusion that the Defendants “are taking the risk of COVID-19

  seriously.”

         Many of the problematic conditions at the Metro West jail (e.g., the impossibility

  of achieving “social distancing”) are also present at the three South Florida immigration

  detention facilities at issue in the instant case. But Swain held that the provisions of the

  preliminary injunction (e.g., specifying specific measures which county jail officials must


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  take, such as requiring that soap and mask be provided) are illustrations of a scenario

  where the District Court designated itself as a de facto “super-warden” and incorrectly

  required those officials to, in effect, obtain a “permission slip” from the Court before

  taking action at the jail.

         Several of the measures in the preliminary injunction stayed in Swain are similar

  to, and at times identical to, the measures included in the temporary restraining order

  issued by the District Court in this case. Unlike the Defendants in Swain, however, the

  Defendants here (ICE, for all practical purposes) have not filed a notice of appeal. Instead,

  they have filed reports which provide information on what steps they have taken in

  response to the TRO.

         Framed by this recent legal development in Swain, the parties should discuss how,

  if at all, that case affects the merits of Plaintiffs’ claims here and whether it should impact

  the class action assessment.

         As a general rule, courts do not evaluate the merits of a lawsuit when determining

  whether to grant a class certification motion. On the other hand, the merits can be

  considered to the extent they relate to the class action analysis.

         Some parties litigating class action motions urge the view that even a weak merits

  case should not prevent certification of the class because the class will all succeed or fail

  together on the merits.




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        Therefore, in the immortal words of law professors everywhere, “please discuss.”

        DONE AND ORDERED in Chambers, in Miami, Florida, on May 6, 2020.




  Copies furnished to:
  The Honorable Marcia G. Cooke
  All counsel of record




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